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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



    STATE OF FLORIDA,

          Plaintiff,

    v.                                                 CASE NO. 8:21-cv-839-SDM-AAS

    XAVIER BECERRA, et al.,

          Defendants.
    __________________________________/


                                               ORDER

          In accord with Florida’s notice (Doc. 132) and Texas’s notice (Doc. 133), this

    action is DISMISSED under Rule 41(a)(1)(A)(i), Federal Rules of Civil Procedure.

    The clerk is directed to close the case.

          ORDERED in Tampa, Florida, on February 15, 2022.
